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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


 DEMONTRAY HUNTER, by and through his next
 friend, Rena Hunter; RUSSELL D. SENN, by and
 through his next friend, Irene Senn; TRAVIS S.
 PARKS, by and through his next friend, Catherine
 Young; VANDARIUS S. DARNELL, by and
 through his next friend, Bambi Darnell; FRANK
 WHITE, JR., by and through his next friend, Linda
 White; MARCUS JACKSON, by and through his
 next friend Michael P. Hanle; TIMOTHY D.
 MOUNT, by and through his next friend, Dorothy
 Sullivan; HENRY P. MCGHEE, by and through his          CASE NO. 2:16-cv-00798-MHT-CSC
 next friend, Barbara Hardy, individually and on
 behalf of all others similarly situated; and the
 ALABAMA         DISABILITIES       ADVOCACY                   CLASS ACTION FOR
 PROGRAM,                                                      DECLARATORY AND
                                                               INJUNCTIVE RELIEF
       Plaintiffs,

 v.

 LYNN T. BESHEAR, in her official capacity as
 Commissioner of the Alabama Department of
 Mental Health,

       Defendant.


      JOINT REPORT ON STATUS OF COMPLIANCE WITH CONSENT DECREE

       The named Plaintiffs as class representatives, the Alabama Disabilities Advocacy Program,

and Lynn T. Beshear, Commissioner of the Alabama Department of Mental Health, jointly submit

this report on the status of compliance with the Consent Decree entered in this action on January

25, 2018. See Order Directing Status Report, ECF No. 95; Consent Decree, ECF No. 94. The

Parties respectfully request a status conference with the Court to address the matters set forth in

Section II below.
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I.      JOINT REPORT ON COMPLIANCE WITH TERMS OF CONSENT DECREE

        A.      Timelines for Provision of Court-Ordered Psychiatric Services

        The Consent Decree mandates that the ADMH Commissioner provide outpatient mental

evaluations (and ensure the submission of reports regarding same to the relevant circuit court),

inpatient mental evaluations (together with submission of relevant reports), and competency

restoration treatment to class members within 45 days of the ADMH Commissioner’s receipt of a

court order for same by 12 months following its entry. ECF No. 94, 19-20, 25. The Consent Decree

further provides that substantial compliance with this 12 month benchmark requires that the average

time period for the provision of court-ordered psychiatric services and the submission of reports

regarding same not exceed 54 days (i.e., the average time period does not exceed 20% of the 45 day

time period). Id. at 20-1, 25. 1

        Defendant’s Response to I.A (Timelines for Provisions of Court-Ordered Psychiatric
        Services)

        The Defendant does not refute the statements made by Plaintiffs as class representatives in

Section I.A.




1
  For purposes of clarity, this Joint Status Report on Compliance simplifies the compliance
measures applicable to each performance requirement included in the Consent Decree to provide
the Court an overview of the status of compliance at 12 months following entry of the Consent
Decree. Each of the compliance measures are thoroughly described in Section II of each of the
Reports of the Monitor filed under seal as Exhibits A (Report of the Monitor for Monitoring Period
April 25 2018 - July 31, 2018), B (Report of the Monitor for Monitoring Period August 1, 2018 –
October 31, 2018), and C (Report of the Monitor for Monitoring Period November 1, 2018 –
January 31, 2019). Due to the sensitive content of the material included in the monitoring reports,
the Parties were granted leave to file them under seal. See ECF No. 113.
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               1.      Outpatient Mental Evaluations of Incarcerated Persons

       The ADMH Commissioner’s average time periods for the provision of outpatient mental

evaluations during the first 12 months following entry of the Consent Decree are set forth below.

See Exhibits A, at 10; Exhibit B, at 10; Exhibit C, at 10. 2

            April 25 – April 30, 2018                               294.5 days

             May 1 – May 31, 2018                                     35 days

             June 1 – June 30, 2018                                 280.46 days

              July 1 – July 31, 2018                                252.05 days

          August 1 – August 31, 2018                                209.17 days

       September 1 – September 30, 2018                             135.83 days

          October 1 – October 31, 2018                              136.61 days

       November 1 – November 30, 2018                               248.20 days

       December 1 – December 31, 2018                               163.51 days

          January 1 – January 24, 2019                              224.93 days


       The average time periods for the submission of reports regarding the provision of outpatient

mental evaluations to relevant circuit courts are set forth below. See Exhibits A, at 11; Exhibit B,

at 12; Exhibit C, at 10.

            April 25 – April 30, 2018                          No reports submitted

             May 1 – May 31, 2018                                   39.33 days

             June 1 – June 30, 2018                                 55.50 days

              July 1 – July 31, 2018                                25.52 days


2
 Pursuant to the Consent Decree, compliance monitoring began in the fourth month following
entry of the Consent Decree. See ECF No. 94, at 23 (Section VII.7).
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          August 1 – August 31, 2018                                 27.46 days

       September 1 – September 30, 2018                              27.87 days

         October 1 – October 31, 2018                                48.51 days

       November 1 – November 30, 2018                                19.50 days

       December 1 – December 31, 2018                                29.13 days

          January 1 – January 24, 2019                               40.93 days


The average time periods for the provision of outpatient mental evaluations do not satisfy the 54

day standard for substantial compliance for the first 12 months following entry of the Consent

Decree, nor do the average time periods for the submission of reports for outpatient mental

evaluations.

       Defendant’s Response to I.A.1. (Outpatient Mental Evaluations of Incarcerated
       Person)

       The Defendant refutes the statements made in the last paragraph that states the Defendant

has not met the 54 day standard concerning the time period for submissions of outpatient mental

evaluations. The Consent Decree does not require the connection between the days of report for an

outpatient evaluation and the days of submission of the evaluation report to the Court. The

Defendant has substantially complied with this request.

                2.     Inpatient Mental Evaluations of Incarcerated Persons

       The ADMH Commissioner’s average time periods for the provision of inpatient mental

evaluations during the first 12 months following entry of the Consent Decree are set forth below.

See Exhibits A, at 11; Exhibit B, at 12; Exhibit C, at 10.

            April 25 – April 30, 2018                     No inpatient evaluations conducted

               May 1 – May 31, 2018                                  229.33 days


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             June 1 – June 30, 2018                                 311.67 days

              July 1 – July 31, 2018                                349.17 days

          August 1 – August 31, 2018                                386.67 days

       September 1 – September 30, 2018                              318 days

         October 1 – October 31, 2018                               377.5 days

       November 1 – November 30, 2018                               385.25 days

       December 1 – December 31, 2018                               356.8 days

          January 1 – January 24, 2019                  No inpatient evaluations conducted


       The average time periods for the submission of reports regarding the provision of inpatient

mental evaluations to relevant circuit courts are set forth below. See Exhibits A, at 11-12; Exhibit

B, at 12; Exhibit C, at 11.

            April 25 – April 30, 2018                                8.67 days

             May 1 – May 31, 2018                                    14.5 days

             June 1 – June 30, 2018                                 25.83 days

              July 1 – July 31, 2018                                 5.5 days

          August 1 – August 31, 2018                                 25.4 days

       September 1 – September 30, 2018                              7.67 days

         October 1 – October 31, 2018                                8.29 days

       November 1 – November 30, 2018                                29.5 days

       December 1 – December 31, 2018                               22.67 days

          January 1 – January 24, 2019                                0 days




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       The average time periods for the provision of inpatient mental evaluations do not satisfy the

54-day standard for substantial compliance for the first 12 months following entry of the Consent

Decree, nor do the average time periods for the submission of reports for inpatient mental

evaluations because the underlying evaluations were submitted out of order.

       Defendant’s Response to I.A.2 (Inpatient Mental Evaluations of Incarcerated Persons)

       The Defendant agrees that the average time periods do not satisfy the substantial compliance

standard at this time.

               3.        Competency Restoration Treatment of Incarcerated Persons

               The ADMH Commissioner’s average time period for the admission of males ordered

to receive competency restoration treatment into Taylor Hardin Secure Medical Facility (“Taylor

Hardin”) and the admission of females into Bryce Hospital during the first 12 months following

entry of the Consent Decree, respectively, are set forth below. See Exhibits A, at 12; Exhibit B, at

12-13; Exhibit C, at 11.

Admission of Males into Taylor Hardin

            April 25 – April 30, 2018               No admissions into Taylor Hardin for CRT

             May 1 – May 31, 2018                                   216.67 days

             June 1 – June 30, 2018                                  233 days

              July 1 – July 31, 2018                                 237 days

          August 1 – August 31, 2018                                276.67 days

       September 1 – September 30, 2018                              302 days

          October 1 – October 31, 2018                               302 days

       November 1 – November 30, 2018                               251.4 days

       December 1 – December 31, 2018                                324 days


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           January 1 – January 24, 2019                                         229.33 days


Admission of Males into Hillcrest Hospital 3

           January 1 – January 24, 2019                                           327 days


Admission of Females into Bryce Hospital

             April 25 – April 30, 2018                                        No admissions

               May 1 – May 31, 2018                                               4.5 days

               June 1 – June 30, 2018                                             142 days

                July 1 – July 31, 2018                                        No admissions

            August 1 – August 31, 2018                                        No admissions

        September 1 – September 30, 2018                                      No admissions

           October 1 – October 31, 2018                                       No admissions

        November 1 – November 30, 2018                                        No admissions

        December 1 – December 31, 2018                                        No admissions

           January 1 – January 24, 2019                                       No admissions


        The average time periods for the admission of males into Taylor Hardin for competency

restoration treatment do not satisfy the 54-day standard for substantial compliance for the first 12

months following entry of the Consent Decree. The average time periods for admission of females

into Bryce Hospital for the month of May 2018 does satisfy the 54-day substantial compliance

measure, but the average time period for admission of females into Bryce Hospital for the month

of June 2018 does not satisfy the 54-day substantial compliance measure.


3
  Beds at Hillcrest Hospital did not come online until January 2019 and as such there were no admissions to that
facility until the last month of the most recent Monitoring Period.
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       Defendant’s Response to I.A.3 (Competency Restoration Treatment of Incarcerated
       Persons)

       The Defendant agrees with the above statements.

               4.     Evaluations and Treatment of Incarcerated Females

       The average time periods for the evaluation of females ordered to receive mental evaluations

is incorporated into the time periods reported in Section 3 above. The average time periods for the

treatment of females falls within the 54-day substantial compliance measure specified by the

Consent Decree. See Section 3 above.

       Defendant’s Response to I.A.4 (Evaluations and Treatment of Incarcerated Females)

       The Defendant agrees with Plaintiffs’ contention that the Defendant has substantially

complied with the time frame to evaluate females under the Consent Decree.

               5.     Order of Evaluation and Treatment of Incarcerated Persons

       In the ADMH Commissioner’s effort to address the backlog of ordered mental evaluations

and inpatient admissions for competency restoration treatment, a number of individuals have been

evaluated and admitted outside of the order specified by Section VI.1.D of the Consent Decree.

ECF No. 94 at 11-13. The number of out-of-order evaluations and admissions had declined since

the initial monitoring period (Months 4 through 6). However, several otherwise timely-provided

psychiatric services fail to constitute substantial compliance given that they were performed out-

of-order. See Exhibits A, at 10-12, 15-16; Exhibit B, at 11-13, 16-17; Exhibit C, at 9-12, 14-15.

       Defendant’s Response to I.A.5 (Order of Evaluation and Treatment of Incarcerated
       Persons

       The Defendant agrees that a “small” number of inpatient individuals awaiting evaluation

were taken out of order, but only in exigent circumstances.

       B.      Operationalization of Hospital and Community Forensic Beds


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               1.      Hospital Forensic Beds

The Consent Decree requires the ADMH Commissioner to add and operate, consistent with existing

licensure and certification standards, 24 hospital forensic beds by 12 months following entry of the

Consent Decree, ECF No. 94 at 27-28 (Section VI.2.A.i), and not fewer than 25 additional beds by

24 months following entry of the Consent Decree. Id. at 28 (Section VI.2.A.ii.).

       The ADMH Commissioner added and operationalized 25 new hospital forensic beds at

Taylor Hardin Secure Medical Facility in July 2017. See Exhibit A, at 9.

       Defendant’s Response to I.B.1 (Hospital Forensic Beds)

       The ADMH Commissioner agrees with the Plaintiff that 25 hospital forensic beds were

added before or within the 12 month period following the entry of the Consent Decree. These beds

were added to the existing beds at Taylor Hardin Secure Medical Facility.

               2.      Community Forensic Beds

       The Consent Decree requires the ADMH Commissioner, by and through ADMH and/or its

contractors and/or other lawful providers, to add and operate, consistent with existing licensure and

certification standards, 52 forensic beds in group homes of no greater than 16 beds. ECF No. 94.

at 18-19. New Community Forensic Beds may not be operated on the grounds of any existing state

hospital. Id. at 7 (definition of Community Forensic Bed). By 12 months following entry of the

Consent Decree, the ADMH Commissioner must add and operate 20 community forensic beds. Id.

at 19 (Section VI.2.B.i.). A minimum of 5 of these 2 community beds must be located where a

Registered Sex Offender may be housed. Id. (Section VI.2.B.ii). The 5 new community forensic

beds set aside for Registered Sex Offenders may only be used to serve Registered Sex Offenders

unless there are fewer than 5 Registered Sex Offenders in need of a community placement. Id.

       No community forensic beds were added or operationalized during Monitoring Period April


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25, 2018 – July 31, 2018, nor were any community forensic beds added or operationalized during

Monitoring Period August 1, 2018 – October 31, 2018. However, during Monitoring Period

November 1, 2018 – January 31, 2019, the ADMH Commissioner added 32 community forensic

beds between two 16-bed forensic group homes contracted through East Alabama Mental Health

and Northwest Alabama Mental Health, respectively. See Exhibits A, at 12; Exhibit B, at 14, 17;

Exhibit C, at 9, 15.

       Defendants’ Response to I.B.2 (Community Forensic Beds)

       The Defendant agrees with the statements made by the Plaintiffs above.

       C.      Training to Relevant State Personnel

               1. Court Personnel and Sheriffs

       Within 12 months of its entry, the Consent Decree required the ADMH Commissioner to

offer training to the circuit court personnel and sheriffs for each of Alabama’s 67 counties regarding

ADMH’s obligation to provide timely Mental Evaluations and Competency Restoration Treatment

to persons ordered to receive same and the cooperation needed from court personnel and sheriffs in

order for the ADMH Commissioner to meet the timeframes for service provision in the Consent

Decree. ECF No. 94, at 20 (Section VI.3.A). The ADMH Commissioner substantially complied

with this training obligation by offering training to court personnel and sheriffs in each of

Alabama’s 67 counties and actually providing training to all indicating a willingness to receive

same by 12 months following entry of the Consent Decree.

       The ADMH Commissioner provided training to state-wide conferences of judges in June

2017, and July 2017. ADMH officials also provided training to judges in Montgomery County in

October 2017, in Jefferson County in December 2017, and to the Alabama Office of the Courts’

Judges’ Conference in July 2018. Further, as of Monitoring Period April 25, 2018 – July 31, 2018,


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the ADMH Commissioner had also offered to provide training to a statewide organization of

Alabama sheriffs, and was working with the sheriff’s association to coordinate same.

       The ADMH Commissioner provided training to attorneys in Madison County during August

2018. In October 2018, the ADMH Commissioner provided training to judges in Montgomery

County. The ADMH Commissioner has achieved Substantial Compliance with the obligation to

offer training to Alabama court personnel. The ADMH Commissioner also offered training to the

Montgomery County Sheriff in August 2018. It is the understanding of the Monitor that ADMH

officials are still working with a statewide organization of Alabama sheriffs to plan and hold a

training, as discussed in the previous Monitoring Report. The ADMH Commissioner’s offer and

efforts to provide the training constitutes Substantial Compliance with the Consent Decree.

       The ADMH Commissioner provided training to circuit judges in Jefferson County during

November 2018. In December 2018, the ADMH Commissioner provided training to attorneys in

Montgomery County and to judges in St. Clair County. The ADMH Commissioner has achieved

Substantial Compliance with the obligation to offer training to Alabama court personnel. The

ADMH Commissioner also offered training to the Montgomery County Sheriff in January 2019.

See Exhibits A, at 9; Exhibit B, at 10; Exhibit C, at 9.

       Defendant’s Response to I.C.1 (Court Personnel and Sheriffs)

       The ADMH Commissioner agrees that she complied with the above paragraph and the

Defendant substantially complied with all training required during the first 12 months of the

Consent Decree.

               2. Attorneys Representing Persons Affected by ADMH-Connected Orders

       By 12 months following entry of the Consent Decree, the ADMH Commissioner shall

distribute to each Alabama circuit court a publication (the “Section VI.3.B Publication”), mutually


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agreed upon between the ADMH Commissioner and Plaintiffs’ Counsel, for dissemination to

attorneys representing persons ordered to receive Outpatient Mental Evaluations, Inpatient Mental

Evaluations, and Competency Restoration Treatment. ECF No. 94 at 20 (Section VI.3.B). For

purposes of determining the ADMH Commissioner’s Substantial Compliance with the training

requirement applicable to attorneys representing persons affected by ADMH-connected orders, the

ADMH Commissioner will be found to have substantially complied with this training obligation by

(1) developing the Section VI.3.B Publication, (2) obtaining Plaintiffs’ counsel’s agreement to

same, (3) and disseminating the Section VI.3.B. Publication to each of Alabama’s circuit courts for

distribution to relevant attorneys in that circuit.

        On March 5, 2018, the ADMH Commissioner disseminated, through the Administrative

Office of the Courts, the Notice of Entry of Consent Decree jointly drafted by the Parties and

approved by the Court, to all judges and circuit clerks in Alabama’s Circuit and District Courts with

instructions to post the Notice of Entry of Consent Decree for public viewing for three years and to

maintain copies of same for reference for the same period. The ADMH Commissioner has

substantially complied with the requirement to inform defense counsel for persons affected by

ADMH-connected orders.

        Defendant’s Response to I.C.2 (Attorneys Representing Persons Affected by ADMH-
        Connected Orders)

        The ADMH Commissioner agrees that she has substantially complied with all requirements

under the Consent Decree by publication or notice to all attorneys representing persons affected by

ADMH Connected Orders.

                3. Members of the Alabama State Bar

        The Consent Decree requires the ADMH Commissioner, within 12 months of entry of the

Consent Decree, to distribute a letter or email to all members of the Alabama State Bar enclosing

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the publication defined in Section VI.3.B. The Consent Decree further requires the ADMH

Commissioner to make reasonable efforts to disseminate the specified publication to members of

the criminal defense bar through electronic mail and listservs. Beginning in calendar year 2017,

and for two years thereafter, the ADMH Commissioner must also offer annual training to members

of the Alabama State Bar regarding the timelines for the provision of Outpatient Mental

Evaluations, Inpatient Mental Evaluations, and Competency Restoration Treatment specified by the

Consent Decree and the ADMH Commissioner’s duty to comply with same. As described more

fully in Section I.E. below, a copy of the Notice of Entry of Consent Decree, the Final Settlement

Approval Order, and the Consent Decree is disseminated to members of the Alabama Criminal

Defense Lawyers Association monthly through its listserv.

        Both Parties communicated with representatives of the Alabama State Bar to explore means

of disseminating the information appropriate for the Section VI.3.B publication broadly to members

of the state bar. After extended discussions, the state bar agreed to include material relevant to the

Consent Decree, including the Notice of Entry of Consent Decree, the document jointly drafted by

the Parties and approved by the Court, and a copy of the Consent Decree in The Scoop, a publication

sent to all members of the Alabama State Bar. The relevant notice was disseminated in The Scoop

to all members of the Alabama State Bar on October 18, 2018. The ADMH Commissioner has

substantially complied with her obligation to provide information concerning the Consent Decree

to members of the Alabama State Bar.

        Defendant’s Response to I.C.3 (Members of the Alabama State Bar)

        The ADMH Commissioner agrees with Plaintiffs that she has substantially complied with

the above paragraph by disseminating proper notice to all members of the Alabama State Bar during

2018.


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       D.      Reporting and Admissions Pursuant to Emergency Treatment Protocol

       During the initial 12 months following entry of the Consent Decree, 23 people believed to

be suicidal or otherwise in need of emergency treatment were referred for evaluation pursuant to

the Emergency Treatment Protocol (the “ETP”) set forth in Section XV of the Consent Decree. ECF

No. 94, at 30-33; see also Exhibits A, at 10; Exhibit B, at 10, 13; Exhibit C, at 11-12. Each of the

people referred pursuant to the ETP were provided an in-person evaluation by a clinician, and 9 of

the persons evaluated were admitted into Taylor Hardin for expedited treatment. 4 The remaining

14 persons referred for evaluation were determined not to require emergency treatment, although

in several instances arrangements were made to provide pharmacological or other appropriate

mental health interventions in the jail setting.

       During Monitoring Period April 25, 2018 – July 31, 2018, the ADMH Commissioner

regularly provided the Monitor with notice of class members’ referral for evaluation under the ETP.

Further, for the seven (7) class members referred for evaluation during that Monitoring Period, the

ADMH Designee arranged for their evaluation within the four-business-day timeframe dictated by

the Consent Decree, and for the four (4) individuals deemed in need of emergency treatment, such

treatment was arranged within seven (7) days of the evaluation. However, in terms of data

submission, ADMH officials were significantly less rigorous in providing the Monitor with timely

reports of the bases upon which clinicians determined that the three (3) class members not referred

for emergency treatment did not warrant same. See Exhibit A, at 9-10, 12.




4
 At present, however, the Monitor has insufficient information to determine whether four of the
men referred for evaluation under the ETP during the current monitoring period (November 1,
2018 – January 31, 2019) to determine whether they were timely evaluated and/or admitted, as
appropriate.
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       During Monitoring Period August 1, 2018 – November 30, 2018, the ADMH Commissioner

timely provided notice of four (4) male class members’ referral for evaluation under the ETP.

However, ADMH officials failed to timely provide notice of the bases on which clinicians

determined that those class members either did or did not warrant emergency treatment. Further,

at least one class member was not evaluated until six (6) days after the ADMH Designee was

contacted about his condition, which does not comply with the four (4) business day timeframe

specified in the Consent Decree. That particular class member was then not admitted to Taylor

Hardin until roughly two-and-a-half weeks after his evaluation—well outside of the seven (7) day

timeframe specified by the Consent Decree. Additionally, the information with which ADMH

officials provided the Monitor was so limited that the Monitor was unable to determine whether

other individuals needing emergency treatment were provided with same within the specified

timeframes. And finally, even where ADMH officials timely identified and evaluated individuals

who potentially were in need of emergency treatment, they failed to notify the Monitor of their

determinations regarding same within the 48-hour timeframe for doing so. See Exhibit B at 10, 13.

       During Monitoring Period November 1, 2018 – January 31, 2019,               ADMH officials

continued to, for the most part, timely provide the Monitor with notice of the referral of class

members for evaluation, but still failed to timely notify the Monitor of the bases upon which

clinicians determined that class members did not warrant emergency treatment. Further, although

eight (8) individuals were referred for evaluation during the Monitoring Period, the Monitor only

received timely notice regarding five (5) of them. Additionally, only two (2) of those individuals

were verifiably evaluated within the four-business-day timeframe dictated by the Consent Decree.

Finally, although ADMH officials provided the Monitor with the results of four (4) of the

evaluations, the results were provided for all but one of the evaluations well outside of the 48-hour


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timeframe for provision of notice. Additionally, although two (2) of the individuals evaluated were

found to be in need of emergency treatment, ADMH officials did not notify the Monitor of those

individuals’ admission to Taylor Hardin Secure Medical Facility. See Exhibit C, at 11-12.

       The Parties have worked with the Alabama State Bar, the Administrative Office of the

Courts, and the Alabama Criminal Defense Lawyers Association to regularly disseminate Notice of

the Consent Decree, which includes directions for invoking the ETP, the Final Settlement Approval

Order (ECF No. 93), and the Consent Decree to circuit courts and members of the criminal defense

bar regularly throughout the first 12 months following entry of the Consent Decree. Class counsel

has been contacted by criminal defense attorneys serving as counsel to class members on several

occasions regarding the operation of the ETP and, on at least one occasion, that attorney referred a

class member for evaluation under the ETP. The Parties believe that state courts and the criminal

defense bar are generally familiar with the ETP and have invoked the ETP where warranted. The

Parties are unaware of any suicide attempts by class members during the initial 12 months following

entry of the Consent Decree.

       Defendants’ Response to I.D. (Reporting and Admissions Pursuant to Emergency
       Treatment Protocol)

       The Defendant agrees to some extent that all time periods were not strictly adhered to in the

course of administering the Emergency Treatment Protocol. This was due to the realities of having

to pass information back and forth with third parties such as the Community Mental Health Centers,

their evaluators, and jail personnel. However, the Defendant would point out that all persons

requesting services under the ETP were properly evaluated and given priority admission to Taylor

Hardin where indicated clinically. Priority admission to Taylor Hardin was not always available

immediately. While the class member may have been approved for emergency admission clinically

and moved to the front of the waiting list, a bed still has to be available at Taylor Hardin to admit

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them. Sometimes the next available bed took longer than seven days, but they were admitted on an

expedited basis to the best of Taylor Hardin’s ability.

       The Defendant agrees that a written basis was not always provided for a clinician’s

determination under the ETP. The Defendant would point out that a written report was not required

under the Consent Decree. However, the Defendant has attempted to provide said reports once

class counsel began requesting them and when the Defendant had in fact received them. The

Defendant has not always received these reports in a timely manner from evaluators but is making

efforts to make sure they are consistently provided.

       The Defendant asserts that the ETP has been successful at identifying mental health

emergencies in the county jails and moving those affected out the jail setting in an efficient manner.

The process has also prevented unnecessary line jumping. The Defendant agrees that the parties

are not aware of any suicide attempts or deaths to class members since the entry of the Consent

Decree. The Defendant believes that the ETP has been a significant contributing factor.

       E.      Ongoing Notice to Class Members and Defense Bar

       Class counsel has mailed a copy of the court-approved Notice of Entry of Consent Decree,

the Court’s Final Settlement Approval Order, and the Consent Decree (collectively, the “Notice

Packet”) to class members and their defense counsel of record twice monthly during the first 12

months following entry of the Consent Decree. Class counsel has likewise coordinated with the

Alabama Criminal Defense Lawyers Association (“ACDLA”) to have a copy of the Notice of Entry

of Consent Decree, the Final Settlement Approval Order, and the Consent Decree disseminated to

the members of the ACDLA listserv on a monthly basis during this period. Class counsel has

communicated with class members who have contacted counsel upon receiving the Notice Packet



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regarding the terms of the Consent Decree, as well as with defense counsel who have likewise

contacted class counsel following receipt of the Notice Packet.

        Defendants’ Response to I.E. (Ongoing Notice to Class Members and Defense Bar)

        The Defendant agrees with the statements made by Plaintiffs in the above paragraph.

II.     PARTIES’ RESPONSE TO NONCOMPLIANCE

        A.     Plaintiffs’ Intention to Move for a Finding of Contempt

        Given the degree of the ADMH Commissioner’s noncompliance with the time periods

specified in the Consent Decree for the provision of court-ordered psychiatric services to class

members during the first 12 months following its entry, class counsel intends to move the Court for

entry of an order finding the ADMH Commissioner in contempt of the Consent Decree. Class

counsel has met and conferred with counsel for the ADMH Commissioner regarding the status of

the ADMH Commissioner’s compliance with the terms of the Consent Decree, barriers faced by

the Alabama Department of Mental Health (the “Department”) in its efforts to comply with the

Consent Decree, and potential remedial measures that might redress current areas of

noncompliance. Despite class counsel’s grave concerns regarding the ADMH Commissioner’s

noncompliance, and their desire for a clear remedial plan and expanded reporting of data regarding

compliance and the implementation of potential remedial measures, class counsel is willing to

entertain a remedial plan formulated by the ADMH Commissioner in the first instance. Class

counsel’s interest is in the development and implementation of a remedial plan that will materially

advance the ADMH Commissioner’s compliance with the Consent Decree. As such, class counsel’s

forthcoming motion for entry of an order of contempt will not seek the imposition of fines for

contempt but the development of a remedial plan and the ADMH Commissioner’s obtaining needed

assistance in devising that remedial plan through a consultant.


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       Defendant’s Response to II.A. (Plaintiffs’ Intention to Move for a Finding of
       Contempt)

       The ADMH Commissioner must agree that the Department is in noncompliance with certain

time periods specified in the Consent Decree for court-ordered psychiatric services to class

members during the first 12 months following entry of the Consent Decree. The ADMH

Commissioner agrees that class counsel has met and conferred with counsel for the Commissioner

concerning barriers faced by the Department in its efforts to comply with the Consent Decree. The

ADMH Commissioner does not agree that it is the proper time for class counsel to move for

contempt of the Consent Decree by the Commissioner.

       The ADMH Commissioner contends that the proper procedure to address noncompliance is

to follow the guidelines set-out in Section VII. (Dispute Resolution Process) of the Consent Decree.

               “1.     During the implementation and monitoring periods of this Agreement

       (see Sections VI and VII, above), if Plaintiffs’ counsel or the monitor believe that

       ADMH is not complying with some aspect of the Agreement, they will notify counsel

       for the Defendant ADMH Commissioner, as described in Sections VII.5 and VII.6

       above. Defendant ADMH Commissioner, by and though ADMH, will respond as

       specified in Sections VII.5 and VII.6 above. Thereafter the Parties will meet and

       confer in good faith to resolve the issue as specified in Section VII.5 and VII.6 above.

               2.      In the event that the Parties are unable to resolve any issue(s) after

       attempting to do so in good faith, they shall submit their dispute to the magistrate

       judge assigned to the case or to the district court in the event no magistrate judge is

       assigned. Both parties shall have the right to appeal and magistrate judge’s decision

       to the district court for review.”




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       The ADMH Commissioner believes that the parties should, at this 12 month period of the

Consent Decree, follow these procedures that would resolve the issues raised by class counsel

quicker and save valuable funds needed to implement all aspects of the Consent Decree.

       B.      Defendants’ Remedial Planning

       The ADMH Commissioner is not at this time prepared to offer class counsel a remedial

plan, although through the dispute resolution process does not object to providing such a plan. Class

counsel is aware of the many barriers the Commissioner has faced in meeting certain time deadlines

but progress is being made in all areas. All parties are proud of the fact that the Court required an

emergency protocol that has essentially worked and may have saved lives, as no deaths or suicides

occurred during the first year of the implementation of the Consent Decree.

       C.      Request for Status Conference

       Class counsel respectfully requests that the court schedule a status conference with the

Parties to address a briefing schedule for Plaintiffs’ motion for a finding of contempt and the dispute

resolution procedures incorporated into the Consent Decree.

       Defendant’s Response to II.C. (Request for Status Conference)

       The ADMH Commissioner does not object to the court scheduling a status conference but

objects to a briefing schedule for a filing of contempt. The Defendant desires that the court consider

the dispute resolutions procedure set-out in the Consent Decree, if it deems necessary.

Dated: January 25, 2019                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I have caused a true and correct copy of the foregoing

to be served on the counsel of record listed below by filing same with the Clerk of Court via the

CM/ECF system this 25th day of January, 2019.

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